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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
 ORANGE LAKE COUNTRY CLUB,
 INC. and WILSON RESORT FINANCE,
 L.L.C.,

                       Plaintiffs,

 v.                                                          Case No: 6:17-cv-1542-Orl-31DCI

 REED HEIN & ASSOCIATES, LLC,
 SCHROETER GOLDMARK &
 BENDER, P.S., MITCHELL REED
 SUSSMAN, BRANDON REED,
 TREVOR HEIN and THOMAS
 PARENTEAU,

                       Defendants.


                                             ORDER
        This cause comes before the Court for consideration without oral argument on the

 following motion:

        MOTION:        MOTION TO COMPEL DEFENDANT MITCHELL REED
                       SUSSMAN D/B/A MITCHELL REED SUSSMAN TO
                       COMPLY WITH THE COURT’S AUGUST 3, 2018
                       SANCTIONS ORDER (Doc. 216)

        FILED:         October 30, 2018



        THEREON it is ORDERED that the motion is GRANTED.

        On April 27, 2018, Plaintiffs filed a motion to compel Defendant Mitchell Reed Sussman

 (Sussman) to respond to Plaintiffs’ first request for production of documents. Doc. 77. After

 holding a hearing on the matter, the Court granted Plaintiffs’ motion to compel and held, pursuant
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 to Federal Rule of Civil Procedure 37(a)(5)(A), that Plaintiffs are entitled to their reasonable

 expenses incurred in making the motion. Doc. 103.

        On June 18, 2018, Plaintiffs filed a motion to determine the amount of attorneys’ fees that

 should be awarded against Sussman. Doc. 110. Therein, Plaintiffs requested an award of

 $26,370.00.

        On June 20, 2018, Sussman filed a motion for extension of time to respond to the Motion.

 Doc. 112. The Court granted Sussman’s motion and provided Sussman until on or before August

 1, 2018 to respond. Doc. 113. But Sussman never responded to the Motion.

        On August 3, 2018, the Court entered an order (the Prior Order) granting in part as

 unopposed Plaintiffs’ motion to determine the amount of attorney fees. Doc. 145. The Court

 awarded Plaintiffs a total of $19,777.50 in attorney fees pursuant to Rule 37(a)(5)(A). Since that

 time, Plaintiffs have on multiple occasions asked Sussman to comply with the Court’s Prior Order.

 To date, Sussman has not complied with the Court’s Prior Order.

        On October 30, 2018, Plaintiffs filed a motion to compel Sussman to comply with the

 Court’s Order. Doc. 216 (the Motion). Plaintiffs ask the Court to compel Sussman to comply with

 the Prior Order on or before the tenth day after the date the Court enters an order on the Motion.

 Id.

        To date, Sussman has not responded to the Motion and the time for doing so has passed.

 The Court routinely grants motions as unopposed where a response has not been filed in opposition

 to the motion. See Doc. 94 at 5 (“Where no memorandum in opposition has been filed, the Court

 routinely grants the motion as unopposed.”); Local Rule 3.01(b) (“Each party opposing a motion

 . . . shall file within fourteen (14) days after service of the motion . . . a response that includes a




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 memorandum of legal authority in opposition to the request . . . .”) (emphasis added). As such,

 the Court finds that the Motion is unopposed and due to be granted.

        Accordingly, it is ORDERED that the Motion (Doc. 216) is GRANTED. On or before

 December 3, 2018, Sussman shall remit to Plaintiffs $19,777.50 in compliance with the Court’s

 Prior Order (Doc. 145).

        DONE and ORDERED in Orlando, Florida on November 20, 2018.



  




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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